           Case 2:22-cv-00219 Document 1 Filed 01/11/22 Page 1 of 17 Page ID #:1



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13   UNITED STATES OF AMERICA

14                             UNITED STATES DISTRICT COURT

15                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

16                                    WESTERN DIVISION
17   UNITED STATES OF AMERICA,                     No. 2:21-CV-00219

18                Plaintiff,                       VERIFIED COMPLAINT FOR
                         v.                        FORFEITURE
19
20                                                 15 U.S.C. § 2070(c)(1)
21   $39,000,000.00 IN FUNDS,
                                                   [H.S.I.]
22                Defendant.
23
24
25          Plaintiff United States of America brings this claim against defendant
26   $39,000,000.00 in Funds, and alleges as follows:
27   ///
28
         Case 2:22-cv-00219 Document 1 Filed 01/11/22 Page 2 of 17 Page ID #:2



 1                                JURISDICTION AND VENUE
 2           1.   The government brings this in rem forfeiture action pursuant to 15 U.S.C.
 3   § 2070(c)(1).
 4           2.   This Court has jurisdiction over the matter under 28 U.S.C. §§ 1345 and
 5   1355.
 6           3.   Venue lies in this district pursuant to 28 U.S.C. § 1395.
 7                                  PERSONS AND ENTITIES
 8           4.   The plaintiff in this action is the United States of America.
 9           5.   The defendant is $39,000,000.00 in Funds (the “defendant funds”) wired to
10   a United States Treasury account from Gree Electric Appliances, Inc. of Zhuhai (“Gree
11   Zhuhai”) and Hong Kong Gree Electric Appliances Sales Co., Ltd. (“Gree Hong Kong”)
12   on or about November 9, 2021.
13           6.   The defendant funds are currently in the custody of United States Customs
14   and Border Protection, Department of Homeland Security, where they will remain
15   subject to this Court’s jurisdiction during the pendency of this action.
16           7.   Because Gree Zhuhai and Gree Hong Kong have agreed to forfeit the
17   defendant funds, there are no specific persons or entities that the government can
18   identify whose interests may be adversely affected by these proceedings. Nevertheless,
19   the government will publish notice of these proceedings via the internet to any other
20   potential third-party claimants, advising those third parties of their right to file a claim to
21   the defendant funds and an answer to the Complaint for forfeiture.
22                                  BASIS FOR FORFEITURE
23   The Gree Companies
24           8.   Gree Zhuhai, Gree Hong Kong and Gree USA, Inc. (“Gree USA”) are
25   collectively referred to as “the Gree Companies.”
26           9.   From 2007 to September 2013, Gree Zhuhai was a large Chinese company
27   that manufactured household appliances (“Gree appliances”) for sale in and outside of
28   China, including in the United States.

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         Case 2:22-cv-00219 Document 1 Filed 01/11/22 Page 3 of 17 Page ID #:3



 1         10.    From 2007 to September 2013, Gree Hong Kong was a Chinese subsidiary
 2   of Gree Zhuhai that exported Gree appliances to the United States.
 3         11.    From 2010 to September 2013, Gree USA was a California corporation
 4   with offices in City of Industry, California, and a subsidiary of Gree Hong Kong. Gree
 5   USA sold Gree appliances to retailers in the United States. Those Gree appliances were
 6   manufactured by Gree Zhuhai and imported into the United States by Gree Hong Kong
 7   and Gree USA. Gree USA was a joint venture between Gree Hong Kong and another
 8   company, MJC America Holdings Co., Inc. (“MJC America Holdings”). Gree Hong
 9   Kong was the majority owner of Gree USA. Gree USA’s Chief Executive Officer
10   (“CEO”), Chief Financial Officer (“CFO”), who was the brother of Gree USA’s CEO,
11   and Chief Administrative Officer (“CAO”) were owners of MJC America Holdings.
12   Gree USA’s CEO, CFO and CAO effectively controlled Gree USA.
13         12.    From 2010 to September 2013, Gree USA sold in the United States
14   dehumidifiers manufactured by Gree Zhuhai and imported into the United States by Gree
15   Hong Kong (“Gree dehumidifiers”).
16   The Consumer Product Safety Act
17         13.    The Consumer Product Safety Act (the “CPSA”) was enacted to protect the
18   public from dangerous consumer products.
19         14.    The United States Consumer Product Safety Commission (the “CPSC”) is
20   the federal agency responsible for protecting consumers from dangerous consumer
21   products and is the lead federal agency responsible for the implementation, enforcement,
22   and administration of the CPSA. The CPSC can order mandatory recalls of dangerous
23   products.
24         15.    The CPSA requires companies that manufacture, import, distribute, or sell
25   consumer products to inform the CPSC, among other things, about any consumer
26   product about which information reasonably supports the conclusion that such product
27   contains a defect that could create a substantial product hazard, or creates an
28   unreasonable risk of serious injury or death. This duty to report also applies to the

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         Case 2:22-cv-00219 Document 1 Filed 01/11/22 Page 4 of 17 Page ID #:4



 1   individual directors, officers, and agents of those companies. A company’s or an
 2   individual’s knowing and willful failure to report an unsafe product to the CPSC is
 3   punishable as a felony violation of the CPSA.
 4   The Gree Companies Learn that Their Dehumidifiers are Catching Fire
 5         16.    On or about July 26, 2012, the CEO of Gree USA saw a video of a burning
 6   Gree dehumidifier. On July 26, 2012, Gree USA’s CEO sent the video to a Gree Hong
 7   Kong manager (“Gree Hong Kong Manager #1”), who was also a director of Gree Hong
 8   Kong and in charge of exporting Gree appliances for sale in the United States, copying
 9   other Gree USA employees and a Gree Zhuhai employee. In sending the video, Gree
10   USA’s CEO labeled the email “urgent,” and said that the video was “scarey [sic] to just
11   watch” and a “very serious issue with GREE product quality.” Gree USA’s CEO also
12   stated that the video was the third reported instance of a Gree appliance catching fire
13   since in or about June 2012 and that it could lead to lawsuits against Gree USA as well
14   as a recall costing millions of dollars. Gree USA’s CEO knew that the Gree Companies
15   had an obligation to inform the CPSC immediately of any consumer product that
16   contained a defect creating a substantial product hazard or that created an unreasonable
17   risk of serious injury or death.
18         17.    Gree Hong Kong Manager #1, replied to the July 26, 2012 email from Gree
19   USA’s CEO that same day. In his reply email, Gree Hong Kong Manager #1 said that
20   “[w]e also felt shock when we watched the video[,]” and that he had sent the video to
21   Gree Zhuhai’s Quality Department and to Gree Zhuhai’s chief engineer who was also its
22   senior vice president for research and development.
23   The Gree Companies Learn that Two Defects in Their Dehumidifiers are Causing Them
     to Catch Fire
24
25         18.    During August 2012, Gree USA and Gree Zhuhai employees, engineers and
26   officers investigated the Gree dehumidifiers for potential defects that could cause them
27   to catch fire. No employee of Gree USA or Gree Zhuhai informed the CPSC of a defect
28   or risk associated with the Gree dehumidifiers in August 2012.

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         Case 2:22-cv-00219 Document 1 Filed 01/11/22 Page 5 of 17 Page ID #:5



 1         19.    On September 4, 2012, Gree USA’s CEO emailed Gree Hong Kong
 2   Manager #1 about the Gree dehumidifiers. The CEO stated that Gree USA had tested its
 3   dehumidifier inventory in Gree USA’s warehouse and the testing showed that these
 4   dehumidifiers burned. The CEO stated “the result is not like what you have told us”
 5   regarding how many units were involved because “the result shows the units all can
 6   catch the fire and apparently the material is not according to UL standard! I don’t think
 7   the factory is telling us the fact and truth. . . .” The CEO stated that, because of Gree
 8   USA’s test results, he would have the dehumidifiers further tested for compliance with
 9   UL (formerly Underwriters Laboratory) standards and was planning to inform the CPSC
10   about the Gree dehumidifiers.
11         20.    On September 5, 2012, Gree Hong Kong Manager #1 emailed Gree USA’s
12   CEO instructing “Gree USA to resolve the claim and CPSC case” and stating that Gree
13   Zhuhai would “fully indemnify Gree USA for any expense and responsibility.” That
14   same day, Gree USA’s CEO replied and requested more details regarding who would
15   pay the costs that could result from the Gree dehumidifiers and when they would pay,
16   and offered to handle reporting the Gree dehumidifiers to the CPSC if Gree Zhuhai
17   would agree to pay all future costs related to the dehumidifiers’ defects. Gree Hong
18   Kong Manager #1 replied on September 6, 2012, stating that they were willing to agree
19   to compensate expenses in a timely manner and that Gree USA “would be the single
20   entity to reply insurance company and CPSC, [and] we will provide the necessary
21   supports of test records and technical information if you need any.” After these
22   communications, no one from the Gree Companies informed the CPSC about the Gree
23   dehumidifiers or their defects.
24         21.    On September 10, 2012, Gree USA’s CEO emailed the highest ranking
25   person at Gree Zhuhai, the chairperson of Gree Zhuhai’s board who also served as Gree
26   Zhuhai’s President and CEO, copying no one else from Gree Zhuhai or Gree Hong
27   Kong. In this email, Gree USA’s CEO stated that “GREE headquarters” had told him
28   not to report the Gree dehumidifiers to the CPSC. Specifically, the Gree USA CEO

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         Case 2:22-cv-00219 Document 1 Filed 01/11/22 Page 6 of 17 Page ID #:6



 1   stated that “GREE headquarters” had told him not to report that the Gree dehumidifiers
 2   may be defective and catch on fire and that they might have overheating parts and plastic
 3   parts that could burn because the plastic did not meet the UL standard for fire resistance.
 4   Gree USA’s CEO warned in his email that any company or individual who withheld
 5   from the CPSC information about a dangerous product could face severe punishment,
 6   including criminal prosecution. Gree USA’s CEO asked how Gree Zhuhai would pay
 7   future costs related to the Gree dehumidifiers, including any potential harm to MJC
 8   America Ltd. (“MJC America”), a company owned by Gree USA’s CEO, CFO and CAO
 9   which also sold the defective Gree dehumidifiers. Gree USA’s CEO stated that if Gree
10   Zhuhai did not give him clear instructions on how to handle the Gree dehumidifiers
11   within a matter of days, then he would inform the CPSC about the dehumidifiers. No
12   one replied to this email.
13         22.    On September 13, 2012, Gree USA’s CEO sent another email to Gree Hong
14   Kong Manager #1. In this email, Gree USA’s CEO discussed how a recall of the
15   defective Gree dehumidifiers might be handled and attached the CPSC’s “Recall
16   Handbook.” Gree USA’s CEO also discussed the financial costs and lost sales that could
17   result from a recall. He did not express any consideration or concern about how
18   defective Gree dehumidifiers could harm consumers. Gree USA’s CEO asked Gree
19   Hong Kong Manager #1 to forward this email to Gree Zhuhai’s chief engineer.
20         23.    On September 19, 2012, Gree Hong Kong Manager #1 came to Gree USA’s
21   offices in City of Industry, California, to meet with Gree USA’s CEO. A Gree Zhuhai
22   engineer and three other Gree USA officers also participated in the meeting. This
23   meeting was audio recorded by agreement.
24         24.    At this September 19 meeting, Gree Hong Kong Manager #1 stated that
25   Gree Zhuhai’s testing of the Gree dehumidifiers was not able to reproduce the reported
26   fire, but had revealed two defects: (1) the dehumidifiers used plastics that did not meet
27   UL standards for fire resistance; and (2) electrical arcing caused by the dehumidifiers’
28   compressors overheating could burn the non-UL standard plastic used in these

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         Case 2:22-cv-00219 Document 1 Filed 01/11/22 Page 7 of 17 Page ID #:7



 1   dehumidifiers. The Gree Zhuhai engineer at the meeting also discussed these defects.
 2   Gree Hong Kong Manager #1 stated that he was aware of at least five consumer reports
 3   of Gree dehumidifiers overheating and catching fire but that Gree Zhuhai “still
 4   believe[d] that the fire case is a relatively isolated case . . . associated with atrocious
 5   conditions.” He also stated that Gree Zhuhai would modify the manufacture of all future
 6   dehumidifiers to fix this problem so they would not catch fire.
 7   The Gree Companies Decide To Delay Reporting and Recalling Their Defective
     Dehumidifiers
 8
 9         25.    At this same September 19 meeting, Gree Hong Kong Manager #1 said that
10   the meeting participants’ decisions on what to do about the Gree dehumidifiers should be
11   guided by the principle of minimizing the costs and loss of reputation to the Gree
12   Companies. Gree Hong Kong Manager #1 said that Gree Zhuhai wanted to delay any
13   recall of the dehumidifiers for 6 to 9 months because delaying a recall would reduce the
14   recall’s effect on Gree dehumidifier sales. Gree Hong Kong Manager #1 stated that an
15   immediate recall would have a significant, and negative, effect on 2012 and 2013 Gree
16   dehumidifier sales. Gree Hong Kong Manager #1 stated that a recall could be delayed 6
17   to 9 months because cooler fall and winter temperatures would help prevent Gree
18   dehumidifiers from overheating and catching fire, and that there should be very few, if
19   any, dehumidifier fires in the 6 to 9 months following September 2012.
20         26.    In response to what Gree Hong Kong Manager #1 said, Gree USA’s CEO
21   said at the meeting that the Gree dehumidifiers’ defects were very significant and had
22   important legal implications. But the Gree USA CEO did not push to inform the CPSC
23   of the dehumidifiers. Rather, Gree USA’s CEO recommended only that the Gree
24   Companies have another company test the Gree dehumidifiers and then decide whether
25   to delay the recall. Gree Hong Kong Manager #1 responded by urging the Gree USA
26   officers not to conduct such a test of the Gree dehumidifiers because that test would
27   show that the dehumidifiers used plastic that did not meet UL standards for fire
28   resistance. Gree USA’s CEO said that the Gree USA officers understood what Gree

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         Case 2:22-cv-00219 Document 1 Filed 01/11/22 Page 8 of 17 Page ID #:8



 1   Zhuhai was asking them to do and needed time to think before making a decision about
 2   how to proceed.
 3         27.    Two days after the September 19, 2012 meeting, Gree USA’s CEO sent an
 4   email to Gree Zhuhai’s chief engineer and copied the email to Gree Zhuhai’s board
 5   chairperson. In his September 21, 2012 email, Gree USA’s CEO said that he understood
 6   that Gree Zhuhai wanted to delay a recall of the Gree dehumidifiers for 6 to 9 months.
 7   Gree USA’s CEO also said that he thought that the Gree dehumidifiers were still likely
 8   to catch fire, and that, after careful consideration, Gree USA’s officers had decided to
 9   report the Gree dehumidifiers to the United States government.
10         28.    The next day, Gree Zhuhai’s chief engineer replied to the September 21,
11   2012 email from Gree USA’s CEO without copying Gree Zhuhai’s board chairperson.
12   In his September 22, 2012 email, Gree Zhuhai’s chief engineer said that Gree Zhuhai
13   had clearly expressed its opinion about how to handle the defective Gree dehumidifiers,
14   and that he hoped Gree USA’s CEO would follow that opinion. Gree Zhuhai’s chief
15   engineer said that he had no authority to approve what Gree USA’s CEO proposed in his
16   September 21, 2012 email and that he hoped Gree USA’s CEO would report his decision
17   on how to handle the defective Gree dehumidifiers to Gree Zhuhai’s board chairperson
18   and listen to her opinion.
19         29.    On September 28, 2012, Gree USA’s CEO sent an email to Gree Zhuhai’s
20   board chairperson, copying no one else from Gree Zhuhai or Gree Hong Kong. In his
21   email, Gree USA’s CEO stated again that Gree’s dehumidifiers had two known defects:
22   (1) the compressors in the dehumidifiers could overheat; and (2) the plastic in the
23   dehumidifiers did not meet UL standards for fire resistance, meaning that the plastic
24   would burn when overheated. Gree USA’s CEO said that it was known that these two
25   defects could cause the dehumidifiers to catch fire and that there were numerous
26   consumer complaints about the dehumidifiers in fact catching fire. Gree USA’s CEO
27   also said that the Gree Companies had sold millions of these defective dehumidifiers.
28   Gree USA’s CEO further related that he believed the Gree Companies should recall the

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         Case 2:22-cv-00219 Document 1 Filed 01/11/22 Page 9 of 17 Page ID #:9



 1   dehumidifiers and warn consumers that using them could result in personal injuries and
 2   property damage, but that Gree Zhuhai had not agreed to a recall. Gree USA’s CEO
 3   warned that a recall could cost hundreds of millions of dollars, would harm the
 4   reputation of Gree products, and would reduce the Gree Companies’ market share. But
 5   Gree USA’s CEO also warned that if Gree Zhuhai did not reach an agreement with Gree
 6   USA on the recall of the dehumidifiers, then Gree USA unilaterally would report the
 7   Gree dehumidifiers to the United States government. Gree USA’s CEO concluded his
 8   email by saying that this was a very important and urgent matter. Neither Gree Zhuhai’s
 9   board chairperson nor anyone else at Gree Zhuhai replied to this email.
10         30.   Despite the Gree USA’s CEO’s September 4, 10, 21, and 28, 2012 emails,
11   no employee of the Gree Companies reported the Gree dehumidifiers’ defects or risks, or
12   the known consumer complaints of fires related to the dehumidifiers, to the CPSC in
13   September 2012.
14         31.   In September 2012, Gree USA sold at least 24,999 defective Gree
15   dehumidifiers to retailers in the United States for approximately $2,558,019. The Gree
16   Companies knew that the retailers wanted dehumidifiers that met all UL standards and
17   did not burn when overheated. The Gree Companies knew that Gree USA represented to
18   its retailers that the Gree dehumidifiers met all UL standards. Gree USA’s CEO, CFO
19   and CAO knew that Gree USA’s representations that these Gree dehumidifiers met all
20   UL standards were false when these dehumidifiers were sold.
21   The Gree Companies Continue to Sell Their Defective Dehumidifiers in the United
     States Without Reporting Them to the CPSC
22
23         32.   On October 19, 2012, a sales representative for Gree USA met in person
24   with Gree Zhuhai’s board chairperson in China. During this meeting, the sales
25   representative discussed the defective Gree dehumidifiers with Gree Zhuhai’s board
26   chairperson. Gree Zhuhai’s board chairperson said that she would send a new Gree
27   Hong Kong manager (“Gree Hong Kong Manager #2”) to the United States to address
28   the problems associated with the dehumidifiers.

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           Case 2:22-cv-00219 Document 1 Filed 01/11/22 Page 10 of 17 Page ID #:10



 1            33.   In October 2012, Gree USA sent to Gree Zhuhai new consumer reports of
 2   fires related to the Gree dehumidifiers. These reports contradicted Gree Hong Kong
 3   Manager #1’s statements at the September 19 meeting that a recall could be delayed 6 to
 4   9 months because cooler fall and winter temperatures would help prevent dehumidifiers
 5   from overheating and catching fire and that there should be very few, if any,
 6   dehumidifier fires in the 6 to 9 months following September 2012. Despite these new
 7   consumer reports of fires caused by Gree dehumidifiers, no employee of the Gree
 8   Companies informed the CPSC about the dehumidifiers’ defects or risks in October
 9   2012.
10            34.   In October 2012, Gree USA sold at least 2,938 defective Gree
11   dehumidifiers to retailers in the United States for approximately $429,426. The Gree
12   Companies knew that the retailers wanted dehumidifiers that met all UL standards and
13   did not burn when overheated. The Gree Companies knew that Gree USA represented to
14   its retailers that the Gree dehumidifiers met all UL standards. Gree USA’s CEO, CFO
15   and CAO knew that Gree USA’s representations that these Gree dehumidifiers met all
16   UL standards were false when these dehumidifiers were sold.
17   The Gree Companies Receive Another Test Report Showing That Their Dehumidifiers
     are Defective and Dangerous
18
19            35.   In late October 2012, Gree USA sent two Gree dehumidifiers to an
20   independent testing company for testing. On November 5, 2012, the testing company
21   wrote a report confirming and reiterating that the Gree dehumidifiers were defective
22   because the compressors in the dehumidifiers could run continuously and thereby
23   overheat to an “extreme high temperature.” Gree USA’s CEO received this report on
24   November 6, 2012. Gree USA’s CEO immediately sent the report to Gree Hong Kong
25   Manager #2, who had taken over responsibility for the importation and sale of the Gree
26   dehumidifiers in the United States from Gree Hong Kong Manager #1.
27   ///
28

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        Case 2:22-cv-00219 Document 1 Filed 01/11/22 Page 11 of 17 Page ID #:11



 1   The Gree Companies Continue to Sell Their Defective Dehumidifiers in the United
     States Without Reporting Them to the CPSC
 2
 3         36.    At the end of November 2012, Gree USA’s CEO told Gree Hong Kong
 4   Manager #2 that an attorney advised him to inform the CPSC immediately of all
 5   consumer reports of fires related to the Gree dehumidifiers. Despite this legal advice and
 6   the November 5, 2012 test report reiterating that the Gree dehumidifiers were
 7   dangerously defective, no employee of the Gree Companies informed the CPSC about
 8   the dehumidifiers’ defects, risks, or reported fires in November 2012.
 9         37.    In November 2012, Gree USA sold at least 6,817 defective Gree
10   dehumidifiers to retailers in the United States for approximately $792,067. The Gree
11   Companies knew that the retailers wanted dehumidifiers that met all UL standards and
12   did not burn when overheated. The Gree Companies knew that Gree USA represented to
13   its retailers that the Gree dehumidifiers met all UL standards. Gree USA’s CEO, CFO
14   and CAO knew that Gree USA’s representations that these Gree dehumidifiers met all
15   UL standards were false when these dehumidifiers were sold.
16   The Gree Companies Have Yet Another Meeting to Discuss Their Defective
     Dehumidifiers But Still Do Not Inform the CPSC
17
18         38.    On December 18, 2012, Gree USA’s CEO and another Gree USA officer
19   went with an attorney to Hong Kong to meet with Gree Hong Kong Manager #2, a Gree
20   Zhuhai engineer, Gree Zhuhai’s Chief Financial Officer (“CFO”) and three attorneys
21   representing Gree Zhuhai. At this meeting, Gree USA’s CEO discussed the November
22   5, 2012 test report with Gree Hong Kong Manager #2, the Gree Zhuhai engineer and the
23   Gree Zhuhai CFO. Gree Hong Kong Manager #2, the Gree Zhuhai engineer and the
24   Gree Zhuhai CFO told Gree USA’s CEO that Gree Zhuhai would test the Gree
25   dehumidifiers and let him know the results of their testing.
26         39.    No employee of the Gree Companies informed the CPSC about the
27   dehumidifiers’ defects, risks, or reported fires in December 2012.
28         40.    In December 2012, Gree USA sold at least 1,395 defective Gree

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        Case 2:22-cv-00219 Document 1 Filed 01/11/22 Page 12 of 17 Page ID #:12



 1   dehumidifiers to retailers in the United States for approximately $201,835. The Gree
 2   Companies knew that the retailers wanted dehumidifiers that met all UL standards and
 3   did not burn when overheated. The Gree Companies knew that Gree USA represented to
 4   its retailers that the Gree dehumidifiers met all UL standards. Gree USA’s CEO, CFO
 5   and CAO knew that Gree USA’s representations that these Gree dehumidifiers met all
 6   UL standards were false when these dehumidifiers were sold.
 7   The Gree Companies Decide to Continue Selling Their Defective Dehumidifiers in the
     United States Without Reporting Them to the CPSC
 8
 9         41.    On January 23, 2013, a Gree USA officer sent an email to Gree Hong Kong
10   Manager #2. The email stated that Gree USA’s and MJC America’s insurance company
11   suggested that Gree USA report the Gree dehumidifiers to the CPSC and recall all of the
12   defective Gree dehumidifiers. The email also stated that the insurance company “wanted
13   to know if any actions were taken to test the product design in case it is defective” and
14   was told that “the product was submitted to several different testing and no faulty [sic] in
15   the design was found[,] also that new production has an extra protection[.]” The Gree
16   USA officer further reported in her email that Gree USA had received a new consumer
17   report of a dehumidifier fire and asked how Gree USA should handle this report.
18         42.    Also on January 23, 2013, Gree Zhuhai told Gree USA in writing that it had
19   tested its dehumidifiers and that they were not defective and could be sold in the United
20   States. Gree Zhuhai did not provide Gree USA with any details on its testing or explain
21   the inconsistency in its test results with those of all prior tests of the Gree dehumidifiers.
22         43.    Despite the recommendation of Gree USA’s insurance company to report
23   the Gree dehumidifiers to the CPSC and recall the defective Gree dehumidifiers, and the
24   new consumer report of fire, no employee of the Gree Companies informed the CPSC
25   about the dehumidifiers’ defects, risks, or reported fires in January or February 2013.
26         44.    Gree USA sold at least 7,609 and 29,857 defective Gree dehumidifiers in
27   January and February 2013, respectively, to retailers in the United States for
28   approximately $905,291, and $3,255,542, respectively. The Gree Companies knew that

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        Case 2:22-cv-00219 Document 1 Filed 01/11/22 Page 13 of 17 Page ID #:13



 1   the retailers wanted dehumidifiers that met all UL standards and did not burn when
 2   overheated. The Gree Companies knew that Gree USA represented to its retailers that
 3   the Gree dehumidifiers met all UL standards. Gree USA’s CEO, CFO and CAO knew
 4   that Gree USA’s representations that these Gree dehumidifiers met all UL standards
 5   were false when these dehumidifiers were sold.
 6   The Gree Companies Finally Report Their Defective Dehumidifiers to the CPSC but
     Continue to Sell Those Dehumidifiers in the United States
 7
 8         45.    On March 14, 2013, Gree USA, Gree Zhuhai, and MJC America made an
 9   initial report to the CPSC about their dehumidifiers. The initial report stated that they
10   had sold approximately 1.6 million Gree dehumidifiers in the United States since 2010,
11   and that consumers who had purchased those dehumidifiers had reported fires,
12   overheating, smoke, odors, and property damage related to these dehumidifiers. The
13   initial report did not mention the defects in the Gree dehumidifiers that caused the
14   dehumidifiers to burn.
15         46.    Gree USA sold at least 6,025 and 7,596 defective Gree dehumidifiers in
16   March and April 2013, respectively, to retailers in the United States for approximately
17   $571,702 and $799,244, respectively. The Gree Companies knew that the retailers
18   wanted dehumidifiers that met all UL standards and did not burn when overheated. The
19   Gree Companies knew that Gree USA represented to its retailers that the Gree
20   dehumidifiers met all UL standards. Gree USA’s CEO, CFO and CAO knew that Gree
21   USA’s representations that these Gree dehumidifiers met all UL standards were false
22   when these dehumidifiers were sold.
23         47.    On April 23, 2013, the Chief Administrative Officer of Gree USA received
24   an independent test report showing that the plastic used in four Gree dehumidifiers made
25   in 2010, 2011, and 2012 did not meet UL standards for fire resistance.
26         48.    On April 30, 2013, Gree USA, Gree Zhuhai, and MJC America made a
27   second, more comprehensive report to the CPSC about their defective Gree
28   dehumidifiers. This report stated that Gree USA, Gree Zhuhai, and MJC America sold

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        Case 2:22-cv-00219 Document 1 Filed 01/11/22 Page 14 of 17 Page ID #:14



 1   approximately 1.84 million of the Gree dehumidifiers and that they had not concluded
 2   that these Gree dehumidifiers posed a substantial product hazard or that the
 3   dehumidifiers needed to be recalled. This report listed nineteen known consumer reports
 4   of fires involving Gree dehumidifiers with all but one of the fires occurring between
 5   June 14, 2012 and April 15, 2013.
 6         49.     After their April 30, 2013 report to the CPSC, the Gree Companies
 7   continued to receive consumer reports of fires caused by Gree dehumidifiers.
 8         50.     The Gree Companies received at least $9,500,000 from the distribution and
 9   wholesale of defective Gree dehumidifiers from September 2012 through April 2013.
10   Additionally, the Gree Companies received at least $29,500,000 from the distribution
11   and wholesale of other non-defective Gree dehumidifiers from September 2012 through
12   April 2013.
13         51.     United States consumers lost at least $17,400,000 by purchasing defective
14   and dangerous Gree dehumidifiers manufactured, distributed, or sold by the Gree
15   Companies from September 2012 through April 2013.
16         52.     From September 2012 to April 2013, United States consumers sustained at
17   least $2,100,000 worth of property damaged or destroyed in fires caused by the defective
18   Gree dehumidifiers.
19   The Gree Companies Imported Their Defective Dehumidifiers with False UL
     Certifications
20
21         53.     Between 2010 and at least until September 2012, the Gree Companies
22   imported into the United States Gree dehumidifiers with certifications that the
23   dehumidifiers met all UL standards, when in fact the dehumidifiers did not meet UL
24   standards.
25   The Gree Companies Finally Recall Their Defective Dehumidifiers
26         54.     By mid-July 2013, Gree Zhuhai decided to recall its defective Gree
27   dehumidifiers and notified the CPSC of this decision. After making this decision, Gree
28   Zhuhai started to plan for the recall.

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        Case 2:22-cv-00219 Document 1 Filed 01/11/22 Page 15 of 17 Page ID #:15



 1         55.     On September 12, 2013, Gree Zhuhai and the CPSC announced a voluntary
 2   recall of 2.2 million Gree dehumidifiers in the United States.
 3         56.     Despite its recall, Gree Zhuhai has received hundreds of consumer reports
 4   of fires and overheating caused by defective Gree dehumidifiers. Consumers have
 5   reported more than 2,000 incidents involving Gree dehumidifiers, including 450 fires
 6   and more than $19,000,000 in property damage.
 7         57.     No later than September 19, 2012, each of the Gree Companies had
 8   information which reasonably supported the conclusion that their Gree dehumidifiers:
 9   (1) contained defects which created a substantial product hazard, that is, a substantial
10   risk of injury to the public; and (2) created an unreasonable risk of serious injury or
11   death. After learning this information, each of the Gree Companies knowingly and
12   willfully failed immediately to inform the United States Consumer Product Safety
13   Commission about these dangerous defects in their Gree dehumidifiers or the dangerous
14   risks posed by their Gree dehumidifiers.
15         58.     As a result of the Gree Companies’ failure to immediately report their
16   defective Gree dehumidifiers to the United States Consumer Product Safety
17   Commission, the Gree Companies were able to continue to distribute and wholesale their
18   dehumidifiers, including defective Gree dehumidifiers, from September 2012 through
19   April 2013.
20         59.     In the Deferred Prosecution Agreement filed in United States v. Gree
21   Electric Appliances Inc., et al., Case No. 2:21-CR-00498-MCS, Gree Zhuhai and Gree
22   Hong Kong agreed to forfeit $39,000,000.00 (i.e. the defendant funds) as assets
23   associated with their failure to report immediately their defective Gree dehumidifiers to
24   the United States Consumer Product Safety Commission in violation of 15 U.S.C. §§
25   2068(a)(4) and 2070. The defendant funds are therefore subject to forfeiture pursuant to
26   15 U.S.C. § 2070(c)(1).
27         WHEREFORE, plaintiff United States of America prays:
28         (a)     that due process issue to enforce the forfeiture of the defendant funds;

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        Case 2:22-cv-00219 Document 1 Filed 01/11/22 Page 16 of 17 Page ID #:16



 1         (b)    that due notice be given to all interested parties to appear and show cause
 2   why forfeiture should not be decreed;
 3         (c)    that this Court decree forfeiture of the defendant funds to the United States
 4   of America for disposition according to law; and
 5         (d)    for such other and further relief as this Court may deem just and proper,
 6   together with the costs and disbursements of this action.
 7   Dated: January 11, 2022                   TRACY L. WILKISON
                                               United States Attorney
 8
                                               SCOTT M. GARRINGER
 9                                             Assistant United States Attorney
                                               Chief, Criminal Division
10
                                               JONATHAN GALATZAN
11                                             Assistant United States Attorney
                                               Chief, Asset Forfeiture Section
12
13                                                    /s/ Katharine Schonbachler
14                                             KATHARINE SCHONBACHLER
                                               Assistant United States Attorney
15
                                               Attorneys for Plaintiff
16                                             United States of America
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1                                        VERIFICATION
2          I, Da’Rell Warren, hereby declare that:
3          1.    I am a Special Agent with Homeland Security Investigations and the case
4    agent for the forfeiture matter entitled United States of America v. $39,000,000.00 in
5    Funds.
6          2.    I have read the above Verified Complaint for Forfeiture and know its
7    contents. It is based upon my own personal knowledge and reports provided to me by
8    other law enforcement agents.
9          3.    Everything contained in the Complaint is true and correct, to the best of my
10   knowledge and belief.
11         I declare under penalty of perjury that the foregoing is true and correct.
12         Executed January 04, 2022 in Long Beach, California.
13                                                DA'RELL L         Digitally signed by DA'RELL L
                                                                    WARREN

14                                                WARREN            Date: 2022.01.04 14:42:15 -08'00'
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                                                   DA’RELL WARREN
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